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 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA        )        CR. S-05-238-FCD
10                                   )
                    Plaintiff,       )        ORDER COMPELLING WITNESS
11                                   )        MICHAEL HARVEY TO TESTIFY
               v.                    )        AT TRIAL
12                                   )
     DALE C. SCHAFER and             )
13   MARION P. FRY,                  )
                                     )
14                  Defendants.      )
     ________________________________)
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          On motion of the United States of America, the Court makes the
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     following findings:
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          1.   Michael Harvey has been subpoenaed as a witness to testify
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     at the jury trial in the above-captioned case, which is scheduled to
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     begin on August 1, 2007;
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          2.   In the judgment of United States Attorney McGregor W.
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     Scott, Mr. Harvey may refuse to answer certain questions on the
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     basis of his privilege against self-incrimination;
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          3.   In the judgment of the United States Attorney, Mr.
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     Harvey's testimony may be necessary to the public interest; and
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          4.   A motion has been made with the approval of an authorized
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     Deputy Assistant Attorney General of the Criminal Division of the
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     U.S. Department of Justice, pursuant to the authority vested in him
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     by Section 6003(b) of Title 18 of the U.S. Code and Section 0.175(a)
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 1   of Title 28 of the Code of Federal Regulations.
 2        THEREFORE, IT IS ORDERED THAT, pursuant Sections 6002 and 6003
 3   of Title 18 of the U.S. Code, Michael Harvey shall give testimony or
 4   provide other information which he may refuse to give or to provide
 5   on the basis of his privilege against self-incrimination as to all
 6   matters about which he may be interrogated in the course of the jury
 7   trial proceedings.
 8        IT IS FURTHER ORDERED THAT no testimony or other information
 9   compelled under this Order, or any information directly or
10   indirectly derived from such testimony or other information, shall
11   be used against Michael Harvey in any criminal case, except that
12   Michael Harvey shall not be exempted by this Order from prosecution
13   for perjury, giving a false statement pursuant to this Order, or
14   otherwise failing to comply with this Order.
15        IT IS FURTHER ORDERED THAT the immunity granted herein is co-
16   extensive with Section 6002 of Title 18 of the U.S. Code.
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18   Dated: July 31, 2007
19                                    _______________________________________
                                      FRANK C. DAMRELL, JR.
20                                    UNITED STATES DISTRICT JUDGE
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